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                                                                        JS-6
   1                             UNITED STATES DISTRICT COURT
   2                            CENTRAL DISTRICT OF CALIFORNIA

   3   DIGITECH IMAGE                         Case No. 8:12-cv-01324-ODW (MRWx)
       TECHNOLOGIES, LLC,                     CONSOLIDATED
   4
                  Plaintiff,
   5         v.
   6
       ELECTRONICS FOR IMAGING, ET
   7   AL.
   8              Defendants.
   9   _______________________________
  10
       DIGITECH IMAGE
  11   TECHNOLOGIES, LLC,                     Case No. 8:12-cv-01667-ODW (MRWx)
                                              CONSOLIDATED
  12
                  Plaintiff,
  13         v.                               Hon. Otis D. Wright, II
  14
       PANASONIC CORPORATION and              XXXXXXXXXXX
                                              [PROPOSED] ORDER GRANTING
  15   PANASONIC CORPORATION OF               JOINT MOTION TO DISMISS
       NORTH AMERICA.                         DEFENDANTS PANASONIC
  16                                          CORPORATION AND PANASONIC
                                              CORPORATION OF NORTH
  17                           Defendants.    AMERICA    [34]
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Case 8:12-cv-01667-ODW-MRW Document 35 Filed 07/26/13 Page 2 of 2 Page ID #:276



   1         On this day, Plaintiff Digitech Image Technologies, LLC (“Plaintiff”) and
   2
       Defendants and Counterclaim-Plaintiffs Panasonic Corporation and Panasonic
   3
   4   Corporation of North America (collectively “Panasonic”) announced to the Court

   5   that they have settled Plaintiff’s claims for relief against Panasonic and Panasonic’s
   6
       counterclaims for relief against Plaintiff asserted in this case. Plaintiff and
   7
   8   Panasonic have therefore requested that the Court dismiss Plaintiff’s claims for
   9   relief against Panasonic and Panasonic’s counterclaims for relief against Plaintiff,
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       with prejudice with all attorneys’ fees, costs of court and expenses taxed against the
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  12   party incurring same. The Court, having considered this request, is of the opinion
  13   that their request for dismissal should be granted.
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             IT IS THEREFORE ORDERED that Plaintiff’s claims for relief against
  15
  16   Panasonic and Panasonic’s counterclaims for relief against Plaintiff are dismissed
  17   with prejudice. IT IS FURTHER ORDERED that all attorneys’ fees, costs of court
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       and expenses shall be borne by each party incurring the same.
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             IT IS SO ORDERED.
                         ERED.
  22
  23            7/26/2013
       Dated: _____________,
                           , 2013
  24
                                          HONORABLE OTIS D. WRIGHT II
  25                                      UNITED STATES DISTRICT JUDGE
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